Case 8:15-cv-00180-JSM-TGW Document 42 Filed 02/11/16 Page 1 of 7 PageID 201



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


WILLIAMS HOLDING CORPORATION

       Plaintiff,

v.                                                        CIVIL NO. 8:15-CV-180-T-30TGW


VI-TEL WIRELESS, LLC, and
JAMES PEARSON and LARRY A.
ROGERS and L. SCOTT ROGERS

       Defendants.

__________________________________________/

                                           ORDER

       THIS CAUSE comes before the Court upon Plaintiff’s Motion for Summary Judgment

against Defendants (Dkt. 33). On February 4, 2016, a Notice of Settlement between Plaintiff and

Defendant James Pearson was filed (Dkt. 41). Thus, the Motion for Summary Judgment applies

to only Defendants Larry A. Rogers and L. Scott Rogers.

        Defendants Larry A. Rogers and L. Scott Rogers have failed to file any responsive briefs

and were ordered to show cause as to the failure to respond (Dkt. 34). To date, Defendants Larry

A. Rogers and L. Scott Rogers have failed to show cause as ordered.

       This Court, having reviewed the Motion for Summary Judgment, record evidence, and

being otherwise advised in the premises, concludes that the Motion should be granted.

                                       BACKGROUND

       On or about March 11, 2013, Defendant, Vi-Tel Wireless, LLC, executed a Revolving Line

of Credit Promissory Note (“Note”). The Note specified that FH FACTOR agreed to loan Two



                                               1
Case 8:15-cv-00180-JSM-TGW Document 42 Filed 02/11/16 Page 2 of 7 PageID 202



Hundred Fifty Thousand and No/100 Dollars ($250,000.00) to Vi-Tel at an annual fixed rate of

twelve percent (12.00 %), plus one percent (1.00%) of the principal on a monthly basis beginning

April 1, 2013. The Note contained a maturity date of March 11, 2014. Upon maturity, Vi-Tel was

required to pay all accrued and unpaid interest and any outstanding principal in full.

       Simultaneous to the execution of the Note by Vi-Tel and FH FACTOR, Defendants, James

Pearson, Larry Rogers and Scott Rogers, each individually signed a Guaranty (or Guaranties) to

the Note.   The Guaranties provided that each guarantor unconditionally guaranteed to FH

FACTOR that all sums due and payable from the Note will be promptly paid as due. The

Guaranties also provided that the guarantors “would immediately pay any sums due and payable

to FH FACTOR, regardless of: defenses, rights of set-off, counterclaim, whether or not FH

FACTOR should have taken any steps to enforce any rights against Vi-Tel or any other person to

collect the sum, or any other condition or contingency.” Further, the Guaranties provided that

guarantor “shall not be relieved of his obligation due to the occurrence of any circumstance or

condition, including but not limited to, modification and/or supplement to the Note, compromise

or release with respect to the Note, partial payment and/or assignment of the Note.”

       The Guarantors also each individually executed a security agreement (“Security

Agreements”) with respect to the Note. Pursuant to the terms of the Security Agreements, the

Guarantors each pledged their respective percentage of interest in Vi-Tel as collateral for the Note.

The Security Agreements allowed for the secured party to accelerate all indebtedness to be

immediately due and payable, and exercise all rights and remedies of a secured creditor upon

default of the Note or Security Agreements. The Security Agreements also allowed for the secured

party to acquire the collateral upon default of the Note or Security Agreements.




                                                 2
Case 8:15-cv-00180-JSM-TGW Document 42 Filed 02/11/16 Page 3 of 7 PageID 203



       On June 17, 2013, Defendants executed a Modification of Loan Documents

(“Modification”) consolidating all of the documents previously executed and stipulating that the

outstanding balance of the Note was Two Hundred Forty Thousand and No/100 Dollars

($240,000.00). The Modification further stipulated that the maximum principal amount of the loan

would be increased to Three Hundred Thousand and No/100 Dollars ($300,000.00).                   The

Modification also provided that Vi-Tel shall not make payments on any other debt obligation

except minimum payments on other revolving obligations without the consent of FH FACTOR.

       Following the execution of the modification, Vi-Tel defaulted and the Guarantors became

obligated to FH FACTOR for the unpaid principal, interest, penalties, costs, and attorney’s fees.

       On or about January 1, 2014, FH FACTOR’s rights as set forth in the Note, Security

Agreements, Personal Guaranties, and subsequent Modification of Loan Documents were assigned

for valuable consideration to Plaintiff Williams Holding Corporation.

       Roy Williams, an officer of Plaintiff Williams Holdings Corporation, states that the total

unpaid principal plus interest of the debt owed by the Defendants was $290,418.27, as of December

15, 2015.

                    SUMMARY JUDGMENT STANDARD OF REVIEW

       Summary judgment should be rendered if the pleadings, discovery and disclosure materials

on file, and any affidavits show there is no genuine issue as to any material fact and that the movant

is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c). The movant must “demonstrate

the absence of a genuine issue of material fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 106 S.

Ct. 2548, 2553 (1986).

       When the movant carries its burden, the burden shifts to the non-moving party to go beyond

the pleadings and come forward with evidentiary materials which show there is a genuine issue of



                                                  3
Case 8:15-cv-00180-JSM-TGW Document 42 Filed 02/11/16 Page 4 of 7 PageID 204



material fact. Avirgan v. Hull, 932 F.2d 1572, 1577 (11th Cir. 1991). If the nonmovant’s response

consists of nothing more than a repetition of conclusory allegations, the district court must enter

summary judgment in the moving party’s favor. Morris v. Ross, 663 F.2d 1032, 1034 (11th Cir.

1981).

         To avoid summary judgment, a non-moving party must direct the court’s attention to

evidence in the record which demonstrates that it can satisfy a fair-minded jury that it is entitled

to verdict in its favor. Earley v. Champion Int’l. Corp., 907 F.2d 1077, 1080 (11th Cir. 1990).

However, there must exist a conflict in substantial evidence to pose a jury question. Verbraeken

v. Westinghouse Elec. Corp., 881 F.2d 1041, 1045 (11th Cir. 1989).

         The mere existence of some factual dispute between the parties will not defeat a summary

judgment. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48, 106 S.Ct. 2505 (1986). Only

genuine issues of material fact will defeat the motion. Id.; accord Barfield v. Brierton, 833 F.2d

923, 933 (11th Cir. 1989). An issue of fact is “material” if it is a legal element of a claim under

the applicable substantive law and one which might affect the outcome of the suit under the

governing law. Anderson, 477 U.S. at 248; Kerr v. McDonald’s Corp., 427 F.3d 947, 951 (11th

Cir. 2005).

         All justifiable and reasonable inferences to be drawn from the underlying facts must be

viewed in the light most favorable to the non-moving party. Matsushita Elec. Indus. Co., 475 U.S.

574, 106 S. Ct. at 1356; Hill v. Wayland, 74 F.3d 1150, 1152 (11th Cir. 1996). However, if the

record, viewed in this light, could not lead a rational trier of fact to find for the non-movant, then

summary judgment is appropriate. Bedoya v. Travelers Property Cas. Co. of Amer., 773 F. Supp.

2d 1326, 1329 (M.D. Fla. 2011) (citing Matsushita Elec. Indus. Co., 475 U.S. 574, 106 S. Ct. at

1348).



                                                  4
Case 8:15-cv-00180-JSM-TGW Document 42 Filed 02/11/16 Page 5 of 7 PageID 205



                                          DISCUSSION

           Having reviewed the record and all of its inferences, in the light most favorable to the

nonmoving parties, the Court concludes that Plaintiff is entitled to an entry of final summary

judgment against Defendants Larry A. Rogers and L. Scott Rogers on the issue of liability and

damages pursuant to the Note and Guaranties. Defendants have failed to demonstrate a genuine

issue as to the indebtedness owed to Plaintiff.

           The Note and Guaranties provide that Florida law will govern. “Under Florida law, the

elements for a breach of contract action are: (1) a valid contract; (2) a material breach; and (3)

damages.” Wells Fargo Bank v. S. Boys Inv. Group, LLC, 2011 WL 2446594, at *2 (M.D. Fla.

May 26, 2011) (quoting J.J. Gumberg Co. v. Janis Servs., 847 So. 2d 1048, 1049 (Fla. 4th DCA

2003)). “A promissory note, mature and regular on its face, is admissible into evidence without

extrinsic proof of its execution or authenticity and, as evidence, is sufficient to establish a prima

facie case. All attacks upon it, or the debt it represents, must be made by way of affirmative

defenses as to which the burden of proof is on the defense.” Haycook v. Ostman, 397 S. 2d 743,

743-44 (Fla. 5th DCA 1981).

           “A guaranty is a collateral promise to answer for the debt or obligation of another.”

Fed. Deposit Ins., Corp v. Univ. Anclote, Inc., 764 F. 2d 804, 806 (11th Cir. 1985). “In Florida,

the elements of an action for breach of a guaranty arise from a debtor’s default and the guarantor’s

subsequent failure to pay.” Bank First v. Guillem, 2009 WL 1930190, at *5 (M.D. Fla. 2009).

The rules governing contracts apply generally to guaranty contracts. Lockheed Martin Crop v.

Galaxis USA, Ltd., 222 F. Supp. 2d 1315, 1325 (M.D. Fla. 2002). Thus, the three elements of

breach of contract in Florida, (1) valid contract (2) a material breach, and (3) damages, are the

relevant elements of a guaranty.



                                                  5
Case 8:15-cv-00180-JSM-TGW Document 42 Filed 02/11/16 Page 6 of 7 PageID 206



            Plaintiff supports its motion for summary judgment with the Affidavit of Roy Williams,

an authorized signatory and custodian of business records for Plaintiff Williams Holding

Company. Based on his personal knowledge of the accounts, Roy Williams states:

       1.         Williams Holding Company is the Assignee of the Promissory Note dated March

11, 2013 (“Note”).

       2.         Williams Holding Corporation is the Assignee of the Guaranties simultaneously

also executed on March 11, 2013, by James Pearson, Larry Rogers, and Scott Rogers.

       3.         Williams Holding Corporation is the Assignee of the Modification of Loan

Documents dated June 17, 2013 (“Modification”).

       4.         As of December 15, 2015, there was due and owing to Williams Holding

Corporation on the Note, Guaranties, and Modification, the unpaid principal plus interest sum of

Two Hundred Ninety Four Hundred Eighteen and 27/100 Dollars ($290,418.27), plus attorney’s

fees and costs.

       5.         Pursuant to the express provisions of the Guaranties described herein, Defendants

Larry Rogers and Scott Rogers are each personally responsible for the debts described above as

they failed to pay $290,418.27 upon demand as required pursuant to the terms of the agreements.

       Defendants have failed to show any disputed material facts precluding summary judgment

on the issue of liability under the instruments. Accordingly, the undisputed material facts establish

Plaintiff’s entitlement to recovery under the Note and Guaranties. Therefore, Plaintiff is granted

summary judgment against Defendants Larry A. Rogers and L. Scott Rogers on the issue of

liability and damages under the Note and Guaranties.




                                                  6
Case 8:15-cv-00180-JSM-TGW Document 42 Filed 02/11/16 Page 7 of 7 PageID 207



          It is therefore ORDERED AND ADJUDGED that:

          1. Plaintiff’s Motion for Summary Judgment against Defendants Larry A. Rogers and L.

               Scott Rogers (Dkt. 33) is GRANTED to the extent stated herein.

          2. The Clerk of Court is directed to enter Final Judgment in Plaintiff’s favor and against

               Defendants Larry A. Rogers and L. Scott Rogers, jointly and severally, in the amount

               of $295,669.39, which reflects principal and interest to the current date. This judgment

               amount shall accrue post-judgment interest at the federal statutory rate.

          3. The Clerk of Court shall close this case and terminate any pending motions as moot.

          4. The Court reserves jurisdiction on the issue of Plaintiff’s entitlement to a reasonable

               amount of attorney’s fees. Plaintiff’s motion on this issue shall be filed within fourteen

               (14) days of this Order and shall file billing records in support of same.

          DONE AND ORDERED in Tampa, Florida on February 11th, 2016.




Copies furnished to:
Counsel/Parties of Record

S:\Even\2015\15-cv-180 msj 33.docx




                                                     7
